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 1 I, Genevieve Grabman, declare as follows:
 2
 3      1. This declaration is based on my personal knowledge, except as to those matters
 4 based on information and belief, which I believe to be true. If called to testify in this case,
 5 I would testify competently about these facts.
 6      2. My name is Genevieve Grabman. I am an attorney licensed to practice law by the
 7 bars of the State of New York and the District of Columbia. While at Georgetown
 8 University Law Center, I completed my clinical studies in refugee and asylum law. I
 9 graduated law school in 2003, and since that time, I have provided thousands of hours of
10 pro bono legal assistance to refugees and migrants through programs with the American
11 Bar Association (ABA), the District of Columbia Bar Association, the Maryland Bar
12 Association, Catholic Charities, AYUDA, and other similar organizations. I further have
13 volunteered with the Center for Human Rights and Constitutional Law for a year, during
14 which time I have interviewed and created declarations for unaccompanied minors and
15 their sponsors.
16      3. In addition to being an attorney, I am also a public health professional focusing on
17 maternal, infant, and reproductive health. In 1995, I worked in the Yadkin County, North
18 Carolina Health Department on mother and baby health issues of Mexican migrant
19 farmworkers. While a Peace Corps Volunteer in the Kyrgyz Republic, I was trained as a
20 lactation consultant by the USAID/BASICS Project in 1996. I earned my master’s degree
21 in public health from Johns Hopkins University in 2001. I have served as a staff member
22 or consultant at numerous public health organizations, including African Mothers Health
23 Initiative, the United Nations Children’s Fund (UNICEF), the World Health Organization
24 (WHO), and Physicians for Reproductive Health. I have consulted for the ABA’s
25 detained migrant health program and recently conducted a maternal and infant health
26 monitoring trip to Malawi, Africa. I do not represent the views of any of my current or
27 previous employers in this declaration and instead speak from my cumulative years of
28 professional experience as both a lawyer and public health official.

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 1      4. On June 12, 2019, I visited the Ursula Border Processing Center in McAllen,
 2 Texas. I visited with 10 detained minor children during that time and observed the visits
 3 of several other detained minors.
 4
 5 Ursula Border Processing Center (BPC)
 6      5. Ursula is an unmarked Customs and Border Patrol facility that is surrounded by a
 7         brown fence and secluded from the highway. The population detained at Ursula is
 8         composed of many unaccompanied minors, some of whom have their own minor
 9         children.
10      6. The staff at Ursula treated visiting attorneys very professionally; however, the
11         Border Patrol officers did not permit me to view the living or sleeping quarters of
12         the detained minors. I met with detained children in an office space loaned to me
13         by the officers. I noted the Ursula offices were very cold, with the air conditioning
14         set very low. When speaking with the detained children, I wore both a sweater and
15         suit jacket over my clothes.
16      7. My interviews with detainees at Ursula BPC made evident that the facility has
17         failed to meet the public health needs of the population detained there. Unmet
18         public health needs include those of maternal health, infant health, and infectious
19         disease control. Failure to maintain adequate standards of public health at Ursula
20         risks the lives of the children at the facility. I met the following six Ursula child
21         detainees, whose examples demonstrate the dire individual results of scant
22         attention to public health standards.
23
24 Interviews of Minors
25   8. I interviewed K.B.A.J, age 17, who had been in Border Patrol custody with her
26 infant for eight days. I observed that K.B.A.J. was very thin, confined to a wheelchair,
27 and appeared to be in a great deal of pain. K.B.A.J. had given birth to a premature baby
28 by emergency caesarian section in Mexico. K.B.A.J. was gravely harmed during this

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 1 surgery and reported to me being in severe pain on one side of her body since her C-
 2 section. She reported shooting, sharp pain from her waist through her right buttock and
 3 leg to her foot. K.B.A.J. had difficulty walking due to her post-surgical pain, and she had
 4 to remain seated in her wheelchair. Because she always was seated, she reported to me
 5 that her buttocks were sore and red and that she was developing a pressure wound on one
 6 buttock. K.B.A.J.’s pain prevented her from eating much; she said she was nauseated
 7 from the pain. She tried to drink water regularly so that she could produce breastmilk to
 8 feed her newborn baby. However, she noted with concern that her breastmilk seemed thin
 9 and watery because, she thought, of the very little she was eating. A Border Patrol official
10 told K.B.A.J. that she could not leave Ursula until she could walk. Therefore, I spent an
11 hour helping K.B.A.J. to walk by instructing her to put her weight on the leg and foot that
12 functioned for her. After an hour of practice, K.B.A.J. was exhausted from the effort and
13 her pain. She collapsed into her wheelchair and fell into a deep sleep. Based on my years
14 of work with postpartum women, I know that K.B.A.J. is urgently in need of medical
15 assistance. Her ability to walk will be permanently compromised if her post-surgical
16 injury is not assessed and ameliorated.
17      9. As concerning as is K.B.A.J.’s condition, the condition of K.B.A.J.’s premature
18 newborn is even more dire. The baby, K.E.A., was born prematurely by emergency C-
19 section in early May 2019 in Mexico. At the time of our meeting, K.E.A. had been in
20 Border Patrol custody with her mother for eight days. The baby is small, weak, and
21 listless. During the five hours we were together, the baby did not cry. She slept most of
22 the time and had to be roused to nurse. When she did nurse, she did not nurse for long
23 periods, although K.B.A.J. conscientiously tried to breastfeed her. The baby was
24 swaddled in a dirty towel. The day prior, the Border Patrol permitted K.B.A.J. to wash
25 her baby for the first time since their arrival in detention. However, a Border Patrol
26 official confiscated the sweatshirt K.B.A.J. had wrapped around her baby. K.B.A.J. told
27 me that her baby was shaking and trembling with cold and could not maintain her
28 temperature. She begged the Border Patrol guard for something to wrap the baby in, and

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 1 she was given a dirty towel. Because the towel was dirty and matted, it too was not
 2 adequate to maintain the baby’s warmth. Babies who are premature, underweight, and
 3 have trouble maintaining their temperature are diagnosed as failing to thrive. These
 4 infants are hospitalized in a neonatal intensive care unit (NICU) so their temperature and
 5 breastmilk intake can be monitored and so their considerable risk of infection can be
 6 controlled. Failing to thrive infants are at extreme jeopardy of death. Based on my
 7 professional experience and my personal experience as the mother of two premature
 8 infants, one of whom failed to thrive and was consequently hospitalized in a NICU for
 9 five weeks, I know that this baby needs immediate, urgent medical care.
10      10. I spoke at length with a pregnant 17-year old girl, M.G.F.B., who has been
11 detained with her two-year-old son, A.A.J.F. , for 20 days at Ursula. M.G.F.B. will
12 celebrate her 18th birthday in late June. She is eight months pregnant with a due date at
13 the beginning of July, but she has not received any prenatal or other medical care during
14 her time at Ursula. Her toddler son, A.A.J.F., tested positive for influenza and was briefly
15 separated from the general Ursula detainee population because of his flu infection. Yet
16 M.G.F.B. was not tested or vaccinated for the flu. Influenza can be fatal for pregnant
17 women and their fetuses. The Ursula Border Patrol guards have made both pregnant
18 mother and toddler sleep on the cold floor without a mattress or blanket, causing the
19 mother back and hip pain. M.G.F.B. also reported to me that the Ursula guards lock the
20 bathroom and prevent her from using the toilet, despite her need to urinate frequently at
21 this advanced stage of pregnancy. Based on my professional experience in maternal
22 health care and my personal experience as a birth mother of three children, I know
23 M.G.F.B. requires urgent prenatal care to determine whether she and her fetus are
24 infected with influenza, if her pregnancy is proceeding normally, and when she could be
25 expected to give birth. I also know that a Border Patrol facility crowded with people sick
26 with influenza is not a safe place to give birth and could pose a fatal infection risk to a
27 newborn.
28

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 1      11. In another case I observed at Ursula, I saw a 16-year-old aunt, E.T.P.E., and her
 2 two-year-old niece, M.A.R.E. Although the mother of the baby, and E.T.P.E.’s sister, is
 3 in the United States and is desirous to sponsor these children, E.T.P.E. and M.A.R.E had
 4 been detained together at Ursula for 16 days when I met them. Both teen and baby
 5 appeared to be infected with influenza: they had fevers, were congested, had running
 6 noses, and had deep, rattling coughs. Others housed with them had been tested and
 7 confirmed as positive for flu. I am concerned that baby M.A.R.E. has developed
 8 pneumonia in addition to the flu. The baby's breathing was rapid and shallow. She was
 9 listless, with her eyes rolling back into her head. She could not eat or drink. She did not
10 cry. She did not respond to the volunteer attorneys during the hours she spent with us.
11 She was hot to the touch, as was her aunt, E.T.P.E. Based on my work in public health
12 with women and young children, and based on my education in epidemiology and
13 infectious disease, I know that immediate medical attention must be given to E.T.P.E. and
14 M.A.R.E. because pneumonia can rapidly kill those with influenza.
15
16 I declare under penalty of perjury that the foregoing is true and correct. Executed on this
17 14th day of June 2019 in Washington, District of Columbia.
18
19                                                    _____________________________________

20                                                    Genevieve Grabman

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